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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                            Case No. 1:12-CR-000155-BLW-9

       v.                                           ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
KRISTOPHER CRAIG HENSLEY,

              Defendant.



       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 310). On October 17, 2012, Defendant Kristopher Craig Hensley

appeared before the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s plea of guilty to the charges contained in Count One of the

Second Superseding Indictment (Dkt. 146), and that it was entered voluntarily and with

full knowledge of the consequences. No objections to the Report and Recommendation

have been filed.

       The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the

result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,


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       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 310) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Count One of the Second Superseding Indictment (Dkt. 146), shall be, and the

same is hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that Defendant Kristopher Craig Hensley is found to

be GUILTY as to the applicable crimes charged in the Second Superseding Indictment.

(Dkt. 146).

                                   DATED: November 9, 2012



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




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